     Case 2:15-cv-00119-JNP-EJF Document 461 Filed 08/02/18 Page 1 of 13




                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH


UNITED STATES OF AMERICA ex rel.
KATIE BROOKS and NANNETTE WRIDE,
                                                 ORDER REQUESTING SUPPLEMENTAL
                      Plaintiffs,                BRIEFING
v.

STEVENS-HENAGER COLLEGE, et al.,
                                                 Case No. 2:15-cv-119-JNP-EJF
                      Defendants.
                                                 District Judge Jill N. Parrish



       The court is concerned with the manner in which this case has been litigated. Relators

Katie Brooks and Nannette Wride filed their complaint in early 2013. They named as defendants

Stevens-Henager College, Inc.; California College San Diego, Inc.; CollegeAmerica Denver,

Inc.; and CollegeAmerica Arizona, Inc. Towards the end of 2013, Relators amended their

complaint, adding as defendants the Center for Excellence in Higher Education, Inc. and Carl

Barney. Shortly thereafter, the Government filed a complaint in intervention. The Government

named two defendants: Stevens-Henager College, Inc. and the Center for Excellence in Higher

Education, Inc.

       After the Government filed its complaint, Relators filed what they refer to as their second

amended complaint, adding as defendants Shaw Mumford & Co., P.C.; Shaw & Co., P.C.; and

Price Waterhouse Coopers LLP. Relators purported to “incorporate by reference” the

Government’s complaint in intervention and explained that their second amended complaint

“alleges facts relating to and supporting” the complaint in intervention. Relators did, however,
      Case 2:15-cv-00119-JNP-EJF Document 461 Filed 08/02/18 Page 2 of 13



acknowledge the “primacy of the government’s complaint” to the extent that their second

amended complaint alleged facts relating to claims upon which the Government intervened.

       The Government elected to not intervene as to the new “claims” alleged in Relators’

second amended complaint. The Government “respectfully referred the Court to 31 U.S.C.

§ 3730(b)(1),” which supposedly “allows [a] relator to maintain the non-intervened portion of the

action in the name of the United States . . . .” Curiously, § 3730(b)(1) actually provides,

       A person may bring a civil action for a violation of section 3729 for the person
       and for the United States Government. The action shall be brought in the name of
       the Government. The action may be dismissed only if the court and the Attorney
       General give written consent to the dismissal and their reasons for consenting.

Nothing in § 3730(b)(1) suggests that a relator may maintain the non-intervened portion of an

action in which the Government has intervened.

       The Government, when it declined to intervene, “reserve[d] the right to seek the

dismissal of the Relators’ action or claim on any appropriate grounds . . . .” The case then

proceeded with the Government pursing the claims alleged in its complaint in intervention and

Relators pursing their “separate” claims. The court is concerned that the False Claims Act does

not allow cases to proceed in this manner.

       A relator may initiate a civil action “for the [relator] and for the United States

Government.” § 3730(b)(1). “The action shall be brought in the name of the Government.”

§ 3730(b)(1). “There is one form of action—the civil action,” Fed. R. Civ. P. 2, and “[a] civil

action is commenced by filing a complaint with the court,” Fed. R. Civ. P. 3; see also Complaint,

Black’s Law Dictionary (10th ed. 2014) (“The initial pleading that starts a civil action . . . .”). Put

simply, a relator commences a civil action by filing a complaint with the court.

       “A copy of the complaint and written disclosure of substantially all material evidence and

information the [relator] possesses shall be served on the Government . . . .” § 3730(b)(2). “The

                                                  2
      Case 2:15-cv-00119-JNP-EJF Document 461 Filed 08/02/18 Page 3 of 13



complaint shall be filed in camera, shall remain under seal for at least 60 days, and shall not be

served on the defendant until the court so orders.” § 3730(b)(2).

       “The Government may elect to intervene and proceed with the action within 60 days after

it received both the complaint and the material evidence and information.” § 3730(b)(2). “The

Government may, for good cause shown, move the court for extensions of the time during which

the complaint remains under seal . . . .” § 3730(b)(3).

       “Before the expiration of the 60-day period and any extensions obtained . . . , the

Government shall (A) proceed with the action, in which case the action shall be conducted by

the Government; or (B) notify the court that it declines to take over the action, in which case the

[relator] shall have the right to conduct the action.” § 3730(b)(4) (emphasis added).

       “If the Government elects not to proceed with the action, the [relator] shall have the right

to conduct the action.” § 3730(c)(3) (emphasis added). “When a [relator] proceeds with the

action, the court, without limiting the status and rights of the [relator], may nevertheless permit

the Government to intervene at a later date upon a showing of good cause.” § 3730(c)(3).

       “If the Government proceeds with the action, it shall have the primary responsibility for

prosecuting the action, and shall not be bound by an act of the [relator].” § 3730(c)(1) (emphasis

added). “If the Government elects to intervene and proceed with an action . . . , the Government

may file its own complaint or amend the complaint of [the relator] to clarify or add detail to the

claims in which the Government is intervening and to add any additional claims with respect to

which the Government contends it is entitled to relief.” § 3731(c).

       If the Government intervenes, the relator has “the right to continue as a party to the

action,” subject to certain limitations. § 3730(c)(1). Those limitations include but are not limited

to “(i) limiting the number of witnesses the [relator] may call; (ii) limiting the length of the



                                                 3
      Case 2:15-cv-00119-JNP-EJF Document 461 Filed 08/02/18 Page 4 of 13



testimony of such witnesses; (iii) limiting the [relator’s] cross-examination of witnesses; [and]

(iv) otherwise limiting the participation by the person in the litigation.” § 3730(c)(2)(C).

       The court may impose restrictions on the realtor if: (1) the Government shows that

“unrestricted participation during the course of the litigation by the [relator] would interfere with

or unduly delay the Government’s prosecution of the case, or would be repetitious, irrelevant, or

for the purpose[] of harassment,” § 3730(c)(2)(C); or (2) the defendant shows that “unrestricted

participation during the course of the litigation by the [relator] would be for purposes of

harassment or would cause the defendant undue burden or unnecessary expense . . . ,”

§ 3730(c)(2)(D).

       Put simply, the plain language of the False Claims Act suggests that, after the

Government intervenes, a relator has no right to conduct what is, in essence, a separate action by

filing a separate complaint. When the Government intervenes, the Government must conduct the

action. See § 3730(b)(4) (“[If the Government intervenes], the action shall be conducted by the

Government.”). The relator has the right to conduct the action only if the Government “declines

to take over the action.” § 3730(b)(4); see also § 3730(c)(3) (“If the Government elects not to

proceed with the action, the [relator] shall have the right to conduct the action.”).

       When the Government intervenes, relators have the right to “continue as a party to the

action.” § 3730(c)(1). But the right to “continue as a party to the action” does not seem to

encompass the right to conduct, in essence, a separate action by amending previously filed

complaints, naming additional defendants, and asserting additional causes of action. The plain

language of the False Claims Act suggests that these rights belong to the party that conducts the

action. Indeed, the Government, if it intervenes, has “the primary responsibility for prosecuting

the action.” § 3730(c)(1). If the Government is primarily responsible for prosecuting the action



                                                  4
     Case 2:15-cv-00119-JNP-EJF Document 461 Filed 08/02/18 Page 5 of 13



and it is the party conducting the action, the Government—not the realtor—must necessarily

determine which claims are in and which are out and who is named as a defendant. What else

could it mean to have the primary responsibility for prosecuting an action? If relators are allowed

to assert additional causes of action and name additional defendants wouldn’t they, too, have the

primary responsibility for prosecuting their “separate” action?

       Section 3730(c)(2)(C) contemplates the types of rights that a relator would have as a

“party to the action.” For instance, if the Government intervened, the relator could call witnesses

and cross-examine witnesses. See § 3730(c)(2)(C). But noticeably absent from § 3730(c)(2)(C) is

anything suggesting that the right to “continue as a party to the action” encompasses the right to

name additional defendants and assert additional causes of action. Congress would have likely

noted that the court could limit the number of defendants named by a relator if, of course,

Congress contemplated that a relator could name additional defendants after the Government

intervened. And wouldn’t Congress have noted that a court could limit a relator’s causes of

action if Congress contemplated that a relator could assert additional causes of action after the

Government intervened?

       Section 3730(c)(2)(D) further undermines the idea that a realtor, as a “party to the

action,” can pursue causes of action that are not alleged in the Government’s complaint. That

section provides that the court may limit a relator’s “participation during the course of the

litigation” if the defendant shows that the relator’s participation “would cause the defendant

undue burden or unnecessary expense.” § 3730(c)(2)(D). This section makes little sense if a

relator could assert additional causes of action and name additional defendants after the

Government has intervened.




                                                5
      Case 2:15-cv-00119-JNP-EJF Document 461 Filed 08/02/18 Page 6 of 13



       Assume, as is the case here, that a relator named an additional defendant after the

Government intervened. Could that defendant then argue that the realtor’s “participation” (i.e.,

naming an additional defendant) causes the defendant “undue burden” and “unnecessary

expense.” § 3730(2)(D). The defendant would not have been a party to the case but for the

relator’s “participation.” If a relator had the right to name additional defendants and assert

additional causes of action, courts would be put in the curious position of evaluating these types

of arguments. See United States ex rel. Landis v. Tailwind Sports Corp., 51 F. Supp. 3d 9, 28–29

(D.D.C. 2014) (stating, without any authority, that the False Claims Act permits the “government

and a relator to simultaneously prosecute the action” and attempting to determine whether the

similarity of the legal theories advanced by the Government and the relator “alleviates the

potential burden caused by the relator’s continued prosecution of this action” (emphasis added)).

Consequently, the language of § 3730(c)(2)(D) suggests that a realtor’s participation as a party to

the action is more limited (e.g., calling and cross-examining witnesses). Put simply,

§ 3730(c)(2)(D) suggests that the right to “continue as a party” does not include a right to amend

a complaint, name additional defendants, and assert additional causes of action.

       Other provisions in § 3730 suggest that a relator has no right to assert additional causes of

action or name additional defendants after the Government has intervened. First, consider the

sections that deal with awards to the relator. Section 3730(d)(1) provides that “[i]f the

Government proceeds with an action brought by a person under subsection (b), such person shall

. . . receive at least 15 percent but not more than 25 percent of the proceeds of the action or

settlement of the claim . . . .” (emphasis added). Section 3730(d)(2) provides that “[i]f the

Government does not proceed with an action under this section, the [relator] . . . shall receive . . .

not less than 25 percent and not more than 30 percent of the proceeds of the action or settlement



                                                  6
     Case 2:15-cv-00119-JNP-EJF Document 461 Filed 08/02/18 Page 7 of 13



. . . .” (emphasis added). Put simply, a realtor’s potential award changes depending on whether

the Government intervenes in the action—the potential award does not change based on whether

the relator prevails on certain claims upon which the Government has not intervened.

       Relators, in their fourth amended complaint, request that “to the extent that the United

States Government has not intervened in this action, [they] be awarded an amount that the Court

decides is reasonable, which is not less than 25% nor more than 30% of the proceeds of any

award or settlement for those claims.” But the False Claims Act unambiguously provides that

Realtors would be entitled to “at least 15 percent but not more than 25 percent of the proceeds of

the action or settlement of the claim” because the Government has “proceed[ed] with [the]

action.” § 3730(d)(1). There is nothing in the False Claims Act that suggests that a relator can

pursue causes of action that are separate and apart from the Government’s and recover an

increased award based on those causes of action. The structure of § 3730(d)(1) and (2)

undermines the idea that the Government can intervene as to certain claims, leaving the relator to

pursue the remaining claims with his or her own complaint.

       Second, consider the provisions dealing with an award of attorneys’ fees to the defendant.

“If the Government does not proceed with the action and the [realtor] conducts the action, the

court may award to the defendant its reasonable attorneys’ fees and expenses if the defendant

prevails in the action and the court finds that the claim of the [relator] was clearly frivolous,

clearly vexatious, or brought primarily for purposes of harassment.” § 3730(d)(4). In this case,

the Government has proceeded with the action, but Relators have named additional defendants

and asserted additional causes of action. If the Relators’ claims are clearly frivolous, are

defendants precluded from recovering attorneys’ fees because the Government has “proceed[ed]




                                                7
     Case 2:15-cv-00119-JNP-EJF Document 461 Filed 08/02/18 Page 8 of 13



with the action”? Or is it the case that a relator loses the right to assert additional claims and

name additional defendants when the Government “proceed[s] with the action”?

       Section 3730(d)(4), the provision dealing with attorneys’ fees, clearly contemplates that

the Government intervenes as to the entire action, not certain claims. If the Government

intervenes in the action, defendants are precluded from recovering attorneys’ fees entirely. But if

the Government declines to intervene, relators run the risk that they will be on the hook for the

defendants’ attorneys’ fees. And this makes sense. When the Government intervenes, it has the

primary responsibility for conducting the action, and the Government presumably elected to

intervene because the action has merit. Congress likely envisioned that the Government would

intervene in those cases with merit, as opposed to those that are frivolous. See also United States

ex rel. Einstein v. City of New York, 556 U.S. 928, (2009) (Thomas, J.) (“Congress expressly

gave the United States discretion to intervene in [False Claims Act] actions—a decision that

requires consideration of the costs and benefits of party status.”). But if relators, after the

Government intervenes, are allowed to continue to name additional defendants and assert

additional causes of action, § 3730(d)(4) is undermined—because defendants would be

precluded entirely from recovering attorneys’ fees incurred as a result of a realtor whose claims

may be frivolous.

       Third, consider the provision dealing with settlement. “The Government may settle the

action with the defendant notwithstanding the objections of the [relator] if the court determines,

after a hearing, that the proposed settlement is fair, adequate, and reasonable under all the

circumstances.” § 3730(c)(2)(A). Put simply, the Government may settle an action in which it

has intervened and one in which it has not. Nothing in this provision, however, suggests that the

Government settles the claims upon which it intervened while a relator settles its “separate”



                                                8
      Case 2:15-cv-00119-JNP-EJF Document 461 Filed 08/02/18 Page 9 of 13



claims. Obviously, there would be little incentive for a defendant to settle with the Government

if a relator insists on pursuing his or her separate claims.

          Fourth, consider the False Claims Act’s statute of limitations. “A civil action under

section 3730 may not be brought (1) more than 6 years after the date on which the violation of

section 3729 is committed, or (2) more than 3 years after the date when facts material to the right

of action are known or reasonably should have been known by the official of the United States

charged with responsibility to act in the circumstances, but in no event more than 10 years after

the date on which the violation is committed, whichever occurs last.” § 3731(b) (emphasis

added).

          The Tenth Circuit has held that § 3731(b)(2) “was not intended to apply to private qui

tam relators.” United States ex rel. Sikkenga v. Regence Bluecross Blueshield of Utah, 472 F.3d

702, 725 (10th Cir. 2006). So only the six-year statute of limitations found at § 3731(b)(1)

“applies to actions pursued by private qui tam relators.” United States ex rel. Told v. Interwest

Const. Co., 267 F. App’x 807, 809 (10th Cir. 2008) (emphasis added); see also Sikkenga, 472

F.3d at 725–26. Put simply, the Tenth Circuit’s interpretation of § 3731 suggests that either the

relator or the Government pursues the action, not both. Indeed, it is the action, not separate

causes of action, that would be extinguished under § 3731(b). The plain language of § 3731 and

the Tenth Circuit’s interpretation of that section would be significantly undermined if certain

claims could be time barred, because a relator is pursuing those claims, while similar claims are

not time barred, because the Government is pursuing those claims. Put simply, § 3731 covers

“civil action[s],” not separate claims. This strongly suggests that the Government intervenes in

the entire action and must decide which claims are a part of the action.




                                                   9
     Case 2:15-cv-00119-JNP-EJF Document 461 Filed 08/02/18 Page 10 of 13



       In sum, the plain language of the False Claims Act provides that the Government, if it

intervenes, must conduct the action, not certain causes of action, and that the Government has

“the primary responsibility for prosecuting the action.” The court has not been able to identify

anything in the False Claims Act to suggest that a relator may name additional defendants and

assert additional causes of action after the Government has intervened—relators would also have

the “primary responsibility for prosecuting the action” if they had these rights. These rights must

necessarily belong to the party with “the primary responsibility for prosecuting the action,” and

there is only one party with that can have the primary responsibility for conducting the action.

Accordingly, the court is concerned that Relators’ so-called second amended complaint had no

legal effect. The Government had intervened by filing its complaint in intervention and that

became the operative pleading—Relators, at that point, lost their rights to amend pleadings,

name new defendants, and assert additional causes of action.

       There are few cases in which this issue is discussed. In In re Pharm. Indus. Average

Wholesale Price Litig., No. 01-12257-PBS, 2007 WL 4287572, at *4 (D. Mass. Dec. 6, 2007),

the court dismissed a relator’s complaint because, once the Government has intervened, “the

realtor has no separate free-standing [False Claims Act] cause of action.” “The nature of the

[False Claims Act] dictates that ‘there is one claim, the government’s.’” Id. (quoting United

States ex rel. Barajas v. Northrop Corp., 147 F.3d 905, 910 (9th Cir. 1998).

       In United States ex rel. Magee v. Lockheed Martin Corp., No. 1:09CV324-HSO-JMR,

2010 WL 972214, at *2–3 (S.D. Miss. Mar. 12, 2010), the court held that a realtor could pursue

claims against a defendant not named in the Government’s complaint in intervention. The court,

however, made no attempt to square this holding with the language of § 3730(c)(1), which

provides that the Government acquires primary responsibility for prosecuting the action



                                                10
     Case 2:15-cv-00119-JNP-EJF Document 461 Filed 08/02/18 Page 11 of 13



following intervention. See id. Other cases have reached the same result. 1 These cases, however,

merely assumed that the Government has the right to “partially” intervene, allowing the relator to

pursue “separate” causes of action with his or her own complaint and did not analyze the plain

language of the False Claims Act, which suggests that no such right exists. § 3730(b)(4). The

Government either “proceed[s] with the action” or it does not. § 3730(b)(4).

       The court is also concerned that the False Claims Act potentially violates the “take Care”

clause Article II of the U.S. Constitution to the extent that it allows private citizens to prosecute

claims on behalf of the Government. See Vermont Agency of Natural Resources v. United States

ex rel. Stevens, 529 U.S. 765, 778 n.8 (2000) (Scalia, J.) (“[W]e express no view on the question

whether qui tam suits violate Article II, in particular . . . the “take Care” Clause of § 3.”); United

States ex rel. Polukoff v. St. Mark’s Hosp., No. 17-4014, --- F.3d ---, 2018 WL 3340513, at *7

(10th Cir. July 9, 2018) (“Of particular note, . . . , [appellee] argued that the qui tam provisions of

the [False Claims Act] violate Article II of the U.S. Constitution.”); John T. Boese & Douglas

W. Baruch, Constitutional Challenges to the FCA’s Qui Tam Mechanism: Ripe for Revival?, 16–

18 (Feb. 2018) (attached as Ex. A); Br. Appelles Intermountain Healthcare, Inc. & Intermountain

Med. Ctr. at 55–63, Polukoff, supra (attached as Ex. B); but see United States ex rel. Stone v.

1
  See Federal Recovery Servs. Inc. v. United States, 72 F.3d 447, 450 n.1 (5th Cir. 1995) (stating,
in a footnote with no analysis, that “[a]lthough the United States’ intervention vested it with
control of the litigation against [one defendant], [relator] retained authority to proceed against
[another defendant] on its own” (emphasis added)); United States v. Public Warehousing Co.
K.S.C., 242 F. Supp. 3d 1351, 1357 (N.D. Ga. 2017); United States ex rel. Becker v. Tools &
Metals, Inc., Nos. 3:05-CV-0627-L, 3:05-CV-2301-L, 2009 WL 855651, at *9 (N.D. Tex. Mar.
31, 2009) (“Accordingly, this court joins other courts that have held that realtors are entitled to
proceed on their claims when the government only partially intervenes.”); United States ex rel.
O’Keefe v. McDonnell Douglas Corp., 918 F. Supp. 1338, 1347 (E.D. Mo. 1996) (“In this case,
the government has intervened with respect to all of [relator’s] claims but three. There is nothing
in the [False Claims Act] which prevents the relator from pursuing these claims.”); Juliano v.
Fed. Asset Disposition Ass’n, 736 F. Supp. 348, 353 (D.D.C. 1990) (“The government has filed
notice that it does not intend to proceed against these defendants. By law, qui tam plaintiff retains
the right to proceed against them.”).

                                                  11
     Case 2:15-cv-00119-JNP-EJF Document 461 Filed 08/02/18 Page 12 of 13



Rockwell Int’l Corp., 282 F.3d 787, 806 (10th Cir. 2002); Riley v. St. Luke’s Episcopal Hosp.,

252 F.3d 749, 753–57 (5th Cir 2001) (en banc); United States ex rel. Taxpayers Against Fraud v.

Gen. Elec. Co., 41 F.3d 1032, 1041 (6th Cir. 1994); United States ex rel. Kelley v. Boeing Co., 9

F.3d 743, 753–54 (9th Cir. 1993); United States ex rel. Kreindler & Kreindler v. United Techs.

Corp., 985 F.2d 1148, 1155 (2d Cir. 1993).

       Accordingly, the court requests supplemental briefing on the following issues:

           1. Whether a relator may file his or her own amended complaint after the

              Government has elected to intervene and proceed with the action.

           2. Whether Relators’ second, third, and fourth amended complaint have any legal

              effect.

           3. Assuming that Relators’ fourth amended complaint has legal effect, whether the

              court could dismiss that complaint if the defendants show that Relators’

              “unrestricted participation” in the action causes the defendants “undue burden or

              unnecessary expenses.”

           4. Whether the False Claims Act violates the “take Care” clause of Article II of the

              U.S. Constitution to the extent that it allows private citizens to prosecute actions

              on behalf of the Government, after the Government has declined to intervene.

           5. What oversight, if any, has the Government exercised over the manner in which

              Relators’ have prosecuted their “separate” claims?

All parties are ORDERED to submit simultaneous briefs on these questions on Thursday, August

16, 2018. Such briefs shall not exceed twenty pages. No extensions of time will be granted.




                                               12
    Case 2:15-cv-00119-JNP-EJF Document 461 Filed 08/02/18 Page 13 of 13



Signed August 2, 2018.

                                   BY THE COURT



                                   ______________________________
                                   Jill N. Parrish
                                   United States District Court Judge




                                     13
